Case 2:04-cr-20491-SH|\/| Document 29 Filed 05/17/05 Page 1 of 2 Page|D 49

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IN THE uNITED sTATES DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE USH@.'?’ I`! PH!Z= l;.S
wEsTERN DJ:vISIoN

 

 

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04~20491-Ol-Ma

V'S.

REGINALD SIMS ,

~__,-_¢~_/-_/~_/~_/`__/~._/\_/

Defendant.

 

ORDER ON CH'.ANGE OF PLEA

 

This cause came on to be heard on May 16, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Reginald Sims, appearing in person and With retained
counsel, Mr. Handel Durham.

With leave of the Court, the defendant entered a plea of
guilty to Count 5 of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Mbnday, August 22, 2005
at 1:30 p.m.

The defendant may remain on his present bond pending
sentencing.

ENTERED this the lt)¢` day of May, 2005.

Jm//W\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 29 in
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Honorable Samuel Mays
US DISTRICT COURT

